Case 8:24-cv-01997-JLS-DFM   Document 127-5   Filed 01/08/25   Page 1 of 2 Page
                                 ID #:4755




                      EXHIBIT 5
Case
Case8:24-cv-01997-WLH-DFM
     8:24-cv-01997-JLS-DFM        Document
                                  Document127-5
                                           80-10      Filed
                                                      Filed01/08/25
                                                            11/18/24   Page
                                                                       Page21of
                                                                             of21 Page
                                                                                  Page
                                      ID #:4756
                                         #:2035


 1                              CERTIFICATE OF SERVICE
 2                                                     Case No. 8:24-cv-01997-WLH-DFM
 3         I am employed in the county of Los Angeles, State of California. I am over the
 4 age of 18 and not a party to the within action; my business address is: K&L GATES
 5 LLP, 10100 Santa Monica Boulevard Eighth Floor, Los Angeles, CA 90067.
 6        On November 18, 2024, I served the document(s) described as:
 7     • TYLER TECHNOLOGIES, INC.’S NOTICE OF MOTION AND
          MOTION TO DISMISS FIRST AMENDED COMPLAINT;
 8     • DECLARATION OF BETH PETRONIO IN SUPPORT OF DEFENDANT
 9        TYLER TECHNOLOGIES, INC.’S NOTICE OF MOTION AND
          MOTION TO DISMISS FIRST AMENDED COMPLAINT;
10     • DECLARATION OF ZACHARY TIMM IN SUPPORT OF DEFENDANT
11        TYLER TECHNOLOGIES, INC.’S NOTICE OF MOTION AND
          MOTION TO DISMISS FIRST AMENDED COMPLAINT;
12     • [PROPOSED] ORDER GRANTING TYLER TECHNOLOGIES, INC.’S
13        NOTICE OF MOTION AND MOTION TO DISMISS FIRST AMENDED
          COMPLAINT.
14
     Leslie Westmoreland                     Plaintiff Pro Se
15   1715 East Alluvial Avenue, #214
     Fresno, CA 93720
16
     Telephone: (559) 727-1604
17   Email: westmorelandlw7@gmail.com
     Robert M. Shaw                          Movant and Self-Described Interested
18
     613 Lincoln Street                      Party
19   Osage City, CA 66523
20
           on the interested parties in this action by delivering a true copy thereof as follows:
21          BY U.S. MAIL: I caused true and correct copies of such document(s) to be
22          placed in sealed envelope(s). I caused such envelope(s) to be deposited in the
            mail in Los Angeles, California with postage thereon fully prepaid to the
23          address(es) indicated above. I am “readily familiar” with this firm’s practice
            of collection and processing correspondence for mailing. It is deposited with
24          the U.S. Postal Service on that same day in the ordinary course of business.

25         I declare under penalty of perjury under the laws of the United States of
26 America that the foregoing is true and correct.
27         Executed on November 18, 2024, at Los Angeles, California.
                                              /s/ Zachary T. Timm
28
                                              Zachary T. Timm

                                       PROOF OF SERVICE
